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 6   General Bankruptcy Counsel for
     David M. Goodrich, Chapter 7 Trustee
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 8
 9
10                              UNITED STATES BANKRUPTCY COURT

11                              CENTRAL DISTRICT OF CALIFORNIA

12                                    LOS ANGELES DIVISION

13
14   In re                                       Case No. 2:18-bk-20688-BB
     RAYMOND A. FERNANDEZ,                       Adv. Case No. ____________________
15
                   Debtor.                       Chapter 7 Proceeding
16
                                                 COMPLAINT FOR AVOIDANCE AND
17                                               RECOVERY OF FRAUDULENT
                                                 TRANSFER
18
     David M. Goodrich, Chapter 7 Trustee,
19   In re: Raymond A. Fernandez,

20                 Plaintiff,
     v.
21
     Imelda Merton Fernandez, aka
22   Imelda Azirit, an individual.

23                 Defendant.

24
25
26
27
28


                                                   MAINDOCS-#243307-v3-Goodrich_-_Fernandez_-_Complaint_Recover_Transfer
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 1           Plaintiff David M. Goodrich, the Chapter 7 Trustee (“Trustee”) for the bankruptcy estate

 2   (“Estate”) of Raymond A. Fernandez (“Debtor”) submits this Complaint for: avoidance and

 3   recovery of fraudulent transfer against Imelda Merton Fernandez, also known as Imelda Azirit

 4   (“Defendant”). Plaintiff hereby respectfully alleges and states as follows:

 5                                   JURISDICTION AND VENUE

 6           1.     The Debtor filed a petition under Chapter 7 of Title 11 of the United States Code

 7   on September 12, 2018 (“Petition Date”), initiating In re Raymond A. Fernandez, Case No. 2:18-

 8   bk-20688-BB (“Bankruptcy Case”) in the United States Bankruptcy Court for the Central District

 9   of California, Los Angeles Division (“Bankruptcy Court”).

10           2.     The claims in this adversary proceeding arise in and relate to the Bankruptcy

11   Case.

12           3.     The Bankruptcy Court has jurisdiction over this adversary proceeding pursuant to

13   28 U.S.C. §§ 157 and 1334.

14           4.     This adversary proceeding is a core proceeding under 28 U.S.C. §§ 157(b)(2)(A),

15   (E), (F) and (H).

16           5.     If this adversary proceeding is determined to be a non-core proceeding, the

17   Plaintiff consents to the entry of final orders and judgments by the Bankruptcy Court.

18           6.     The Defendant is hereby notified that Fed. R. Bankr. P. 7012(b) requires the

19   defendant to admit or deny whether this adversary proceeding is a core or non-core proceeding

20   and, if non-core, to state whether the Defendant consents, or does not consent, to the entry of

21   final orders or judgment by the Bankruptcy Court.

22           7.     This adversary proceeding is a civil proceeding arising in and related to the

23   Bankruptcy Case, which is pending before the Bankruptcy Court. Accordingly, venue in the

24   Bankruptcy Court is proper under 28 U.S.C. § 1409.

25                                               PARTIES

26           8.     Plaintiff is the duly appointed Chapter 7 Trustee for the Estate.

27           9.     As Trustee, Plaintiff has standing to bring this action pursuant to 11 U.S.C. §§

28   544, 548 and 550.


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 1          10.     Defendant is an individual residing in Los Angeles County, California.

 2          11.     Defendant is the Debtor’s former spouse.

 3                                      GENERAL ALLEGATIONS

 4                                       The Debtor and Defendant

 5          12.     Defendant and the Debtor were married on or about September 30, 2000.

 6          13.     Defendant’s father, Henry Merton, and a certain Evangeline Merton, transferred or

 7   sold to the Debtor and Defendant as joint tenants, real property located at 129 E. 220th Street,

 8   Carson, California 90745 (“Property”).

 9          14.     A grant deed reflecting the transfer or sale of the Property was recorded on or

10   about July 15, 2010 (“Grant Deed”).

11          15.     The purchase price for the Property was $320,000.00.

12          16.     Debtor and Defendant, together, borrowed $256,000 from Wells Fargo Bank,

13   N.A., who in turn recorded a deed of trust against the Property to secure repayment of the loan on

14   or about July 15, 2010.

15          17.     Defendant and the Debtor separated on or about November 11, 2014.

16          18.     On or about December 1, 2014, Defendant filed a petition for dissolution of

17   marriage or in the alternative, for legal separation.

18          19.     Defendant and the Debtor executed a marital settlement agreement (“MSA”) in or

19   around March 2015.

20          20.     By the MSA, Defendant and the Debtor addressed the disposition of their

21   community property, including among other things, the Property.

22                                               The Transfer

23          21.     On or about December 29, 2015, that certain Interspousal Transfer Deed was

24   recorded, by which the Debtor granted to Defendant the Property as her sole and separate

25   property (“Transfer”).

26          22.     The fair market value of the Property was at least $498,000 at the time of the

27   Transfer.

28


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 1           23.     Without having held any trial, on or about February 24, 2016, the Superior Court

 2   of the County of Los Angeles entered a judgment of dissolution, which included the MSA as an

 3   attachment.

 4                                    The Debtor’s Bankruptcy Filing

 5           24.     The Debtor commenced this Bankruptcy Case by filing his petition, schedules,

 6   and statement of financial affairs on the Petition Date, in which he identified a single-family

 7   residence as having been transferred to Defendant within two (2) years of filing for bankruptcy.

 8           25.     The Debtor listed in his Schedule E/F “Wells Fargo Home Mor” as a creditor with

 9   an unsecured claim in the amount of $221,530.00.

10           26.     The Debtor indicated in his Schedule E/F that only he incurred such debt, that it

11   was for a “Real Estate Mortgage” and that it was “Opened 07/10 Last Active 7/15/18.”

12           27.     The Plaintiff is informed and believes that “Wells Fargo Home Mor” is the Debtor

13   referring to the mortgage recorded by Wells Fargo Bank, N.A. in connection with the Grant Deed

14   for the Property.

15           28.     Plaintiff is informed and believes that the single-family residence referred to in the

16   Debtor’s petition, for which he incurred debt, and at which he and Defendant resided is the

17   Property.

18                                      FIRST CLAIM FOR RELIEF

19   (Avoidance of Intentional Fraudulent Transfer Pursuant to 11 U.S.C. § 544; California Civil

20                         Code §§ 3439.04, 3439.05 et seq. – Against Defendant)

21           29.     Plaintiff incorporates each and every allegation contained above, as though fully

22   set forth herein.

23           30.     The Transfer was a transfer of an interest of the Debtor in property to Defendant

24   within four years of the Petition Date.

25           31.     The Transfer was made with the actual intent to hinder, delay, or defraud persons

26   or entities to which the Debtor was or became indebted, on or after the date the Transfer was

27   made.

28


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 1           32.     Plaintiff may avoid and recover the Transfer as a fraudulent transfer pursuant to

 2   11 U.S.C. § 544; California Civil Code §§ 3439 et seq.

 3           33.     Any transfer avoided by the Court is preserved for the benefit of the Estate

 4   pursuant to 11 U.S.C. § 551.

 5                                   SECOND CLAIM FOR RELIEF

 6    (Avoidance of Constructive Fraudulent Transfer Pursuant to 11 U.S.C. § 544; California

 7                       Civil Code §§ 3439.04, 3439.05 et seq. – Against Defendant)

 8           34.     Plaintiff incorporates each and every allegation contained above, as though fully

 9   set forth herein.

10           35.     The Transfer was a transfer of an interest of the Debtor in property to Defendant

11   within four years of the Petition Date.

12           36.     The Debtor received less than reasonably equivalent value in exchange for the

13   Transfer.

14           37.     The Debtor was insolvent on the date of the Transfer, was engaged or was about

15   to engage in a business or a transaction, for which the remaining assets of the Debtor were

16   unreasonably small in relation to the business or transaction.

17           38.     The Debtor intended to incur, or believed or reasonably should have believed that

18   the Debtor would incur, debt beyond the Debtor’s ability to pay as they became due.

19           39.     Plaintiff may avoid and recover the Transfer as a fraudulent transfer pursuant to

20   11 U.S.C. § 544; California Civil Code §§ 3439 et seq.

21           40.     Any transfer avoided by the Court is preserved for the benefit of the Estate

22   pursuant to 11 U.S.C. § 551.

23                                     THIRD CLAIM FOR RELIEF

24          (To Preserve Transfer for the Benefit of the Estate Pursuant to 11 U.S.C. § 551))

25           41.     Plaintiff incorporates each and every allegation contained above, as though fully

26   set forth herein.

27           42.     Pursuant to 11 U.S.C. § 551, the Transfer is preserved for the benefit of the Estate

28   as the Transfer is avoidable under 11 U.S.C. §§ 544 and 550 as set forth above.


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 1                                      PRAYER FOR RELIEF

 2         WHEREFORE, Plaintiff prays that this Court enter judgment as follows:
 3
           1. For entry of judgment avoiding the Transfer;
 4
           2. For entry of judgment recovering the avoided Transfer;
 5
 6         3. For entry of judgment that the avoided Transfer is preserved for the benefit of the

 7             Estate;

 8         4. For costs of suit incurred, including attorneys’ fees as provided by applicable case
 9             law, statute and/or agreement of the parties; and
10
           5. For such other relief as the Court deems just and proper.
11
     Dated: December 26, 2019                    WINTHROP GOLUBOW HOLLANDER, LLP
12
13                                               By: /s/ Alastair M. Gesmundo
14                                                       Richard H. Golubow
                                                         Alastair M. Gesmundo
15                                               General Bankruptcy Counsel for
                                                 David M. Goodrich, Chapter 7 Trustee
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  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                             ADVERSARY PROCEEDING NUMBER
                                                                                                       (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                             DEFENDANTS
David M. Goodrich, Ch. 7 Trustee, In Re: Raymond A. Fernandez
                                                                                        Imelda Merton Fernandez, aka Imelda Azirit, an individual


ATTORNEYS (Firm Name, Address, and Telephone No.)                                      ATTORNEYS (If Known)
Richard H. Golubow, Esq. and Alastair M. Gesmundo, Esq.
Winthrop Golubow Hollander, LLP
1301 Dove Street, Suite 500, Newport Beach, CA 92660
Tele: (949) 720-4100 Fax: (949) 720-4111
PARTY (Check One Box Only)                         PARTY (Check One Box Only)
□ Debtor    □ U.S. Trustee/Bankruptcy Admin        □ Debtor      □ U.S. Trustee/Bankruptcy Admin
□ Creditor  □ Other                                □ Creditor    □x Other Transferee
□x Trustee                                         □ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
Avoidance and Recovery of Fraudulent Transfer pursuant to 11 U.S.C. Sections 544, 548, 550. Avoidance of intentional fraudulent transfer pursuant to 11 U.S.C.
Section 544, California Civil Code Section 3439 et seq.; avoidance of constructive fraudulent transfer pursuant to 11 U.S.C. Section 544, California Civil Code
Section 3439 et seq.; preserve transfer for the benefit of the estate pursuant to 11 U.S.C. Section 551.



                                                                    NATURE OF SUIT

         (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


□ 11-Recovery of money/property - §542 turnover of property                            □
     FRBP 7001(1) – Recovery of Money/Property                                         FRBP 7001(6) – Dischargeability (continued)

□ 12-Recovery of money/property - §547 preference                                      □
                                                                                          61-Dischargeability - §523(a)(5), domestic support

□ 13-Recovery of money/property - §548 fraudulent transfer                             □
                                                                                          68-Dischargeability - §523(a)(6), willful and malicious injury
 1
□2 14-Recovery of money/property - other                                               □
                                                                                          63-Dischargeability - §523(a)(8), student loan
                                                                                          64-Dischargeability - §523(a)(15), divorce or separation obligation

                                                                                       □
                                                                                             (other than domestic support)

□ 21-Validity, priority or extent of lien or other interest in property
     FRBP 7001(2) – Validity, Priority or Extent of Lien                                  65-Dischargeability - other


                                                                                       □
                                                                                       FRBP 7001(7) – Injunctive Relief

□
     FRBP 7001(3) – Approval of Sale of Property
                                                                                       □
                                                                                          71-Injunctive relief – imposition of stay
     31-Approval of sale of property of estate and of a co-owner - §363(h)
                                                                                          72-Injunctive relief – other


□ 41-Objection / revocation of discharge - §727(c),(d),(e)
     FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                       □ 81-Subordination of claim or interest
                                                                                       FRBP 7001(8) Subordination of Claim or Interest



□ 51-Revocation of confirmation
     FRBP 7001(5) – Revocation of Confirmation
                                                                                       □ 91-Declaratory judgment
                                                                                       FRBP 7001(9) Declaratory Judgment



□ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
     FRBP 7001(6) – Dischargeability
                                                                              □
                                                                              FRBP 7001(10) Determination of Removed Action

□ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause


□ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny □3 SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
      actual fraud                                                            Other


                   (continued next column)                                    □ 02-Other (e.g. other actions that would have been brought in state court
                                                                                                if unrelated to bankruptcy case)
□ Check if this case involves a substantive issue of state law                         □ Check if this is asserted to be a class action under FRCP 23
□ Check if a jury trial is demanded in complaint                                  Demand $ Value of Property TBD
Other Relief Sought    For entry of judgment avoiding the Transfer; for entry of judgment recovering the avoided Transfer; for entry of judgment that the
                           avoided Transfer is preserved for the benefit of the Estate; for costs of suit incurred, including attorneys’ fees as provided by applicable
                           case law, statute and/or agreement of the parties; and for such other relief as the Court deems just and proper.
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 B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
RAYMOND A. FERNANDEZ                                                   2:18-bk-20688-BB

DISTRICT IN WHICH CASE IS PENDING                                     DIVISION OFFICE                   NAME OF JUDGE
Central District of California                                         Los Angeles                       Sheri Bluebond

                                     RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                      DEFENDANT                                                ADVERSARY
                                                                                                        PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)

/s/ Alastair M. Gesmundo




DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)
December 26, 2019                                                      Alastair M. Gesmundo




                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
